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                   Willie Lee HavMmeri vs Methodist Hospital of Dallas (MHS) Case No. 3:22-cv-00594-E-BT




      Claims Requiring Relief before the U.S.
               DISCTRICT COURT
                                        U.S. District Court
                                 Northern District of Texas (Dallas)

Willie Lee HavMmeri,
Plaintiff
vs.
Methodist Health Systems,
Defendant

Case No. 3:22-cv-00594-E-BT

Assigned Judge: Ada Brown
Magistrate Judge: Rebecca Rutherford
Defendant’s Legal Team: Ogletree Law (Employment Law Firm – Dallas, Texas)
Cause: 42:1983 Civil Rights (Employment Discrimination)
Nature of Suit: 442 Civil Rights: Employment
Date Filed: 03/14/2022
Today’s Date: 05/05/2023

Overview
Below, I, Willie Lee HavMmeri (PLAINTIFF), shall present my FOUR (4) claims to which relief may be
granted in my case against the Defendant in Court. This Document is an addition to the Amended
Complaint (Doc. 24). These claims are accompanied by the relief sought for each. The claims are in
green font.

Should the Court require any further details for these CLAIMS TO WHICH RELIEF CAN BE GRANTED, I
implore the Court to give me FURTHER INSTRUCTIONS. Disclaimer, this is NOT a request for legal advice.
This is a sincere request for instruction, if further detail is needed.

My Four Claims are as follows:




                                 Wrongful Termination due to Retaliation and Discrimination
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Four Claims requiring Relief:

    1. Claim One: I, Willie Lee HavMmeri (PLAINTIFF), CLAIM to have been WRONGFULLY TERMINATED
       via the NARRATIVE that I MANIPULATED FINANCIAL DOCUMENTS. The Defendant did not
       “Suspend, Pending Investigation & Review” (“Company Policy” cited). The Defendant did not
       inform me I was being investigated for stealing time prior to termination. The Defendant
       ignored evidence to the contrary presented during termination. Damages sought from this
       WRONGFUL TERMINATION are not to exceed $3,000,000.00 (Three Million Dollars)
    2. Claim Two: I, Willie Lee HavMmeri (PLAINTIFF), CLAIM to have been subject to RETALIATION
       carried out by, and with the documented backing of the Company (DEFENDANT). I FORMALLY
       COMPLAINED to the company March 17th 2020. An investigation that led to my termination
       started March 29th 2020. Presently (May 5th 2023), the Defendant STILL DENIES this
       RETALIATION TOOK PLACE (despite this FACT), on numerous records. This demonstrates
       complicity. Damages sought from this RETALIATION are not to exceed $1,000,000.00 (One
       Million Dollars)
    3. Claim Three: I, Willie Lee HavMmeri (PLAINTIFF), CLAIM to have been the VICTIM of GENDER
       DISCRIMINATION in the forms of: HOURLY ALLOTMENT (31.5 hours), GENDER BIAS (preferential
       treatment based exclusively on GENDER) & HOW CONSEQUENCES WERE METED OUT (based
       exclusively on GENDER). MY TERMINATION AND FULL-TIME HOURS SERVE AS SUFFICIENT
       PROOF of this CLAIM, with further evidence to be provided, if necessary. Damages sought from
       this DISCRIMINATION are not to exceed $1,000,000.00 (One Million Dollars)
    4. Claim Four: I, Willie Lee HavMmeri (PLAINTIFF), CLAIM to have suffered greatly due to my loss of
       income, and inability to be employed in my work field. Damages sought for LOSS of
       WAGES/HEALTHBENEFITS/PANDEMIC RELIEF/401K to be deemed sufficient when calculated and
       audited.

I, Willie Lee HavMmeri, state that I AM ABLE TO PROVE all four CLAIMS requiring relief before the Court.

The Defendant must prepare to PROVE, before the Court, their innocence to ANY OR ALL FOUR CLAIMS
LISTED ABOVE.

I, Willie Lee HavMmeri, am willing to concede ANY AND ALL MISCELLANEOUS RELIEF shall be deducted
from total damages AWARDED VIA VERDICT. This is acknowledging that any MISCELLANEOUS RELIEF
shall be deducted from TOTAL DAMAGES AWARDED via the Defendant being found GUILTY (on ANY or
ALL CLAIMS) in this U.S. DISTRICT COURT case.




                                  Wrongful Termination due to Retaliation and Discrimination
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Conclusion
My termination was WRONGFUL. It was RETALIATION for questioning an unfair bias, due to GENDER.

I am more than a name in the PLAINTIFF section of documents.

Apologies for my style and manner of writing.

Respectfully submitted,

May 5th, 2023

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”
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(214) 600-6207




                                 Wrongful Termination due to Retaliation and Discrimination
                                               Case No. 3:22-cv-00594-E-BT
